
USCA1 Opinion

	





        August 23, 1995         [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT




                                 ____________________


        No. 95-1077 

                                    MARK S. HIDER,

                                Plaintiff, Appellant,

                                          v.

                              CITY OF PORTLAND, ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. David M. Cohen, U.S. Magistrate Judge]
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                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Selya and Lynch, Circuit Judges.
                                            ______________

                                 ____________________

            Mark S. Hider on brief pro se.
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            Natalie L. Burns on brief for appellee City of Portland.
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            BethAnne L. Poliquin on brief for appellee Michael Chitwood.
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                 Per Curiam.   Plaintiff-appellant Mark S. Hider  appeals
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            from  the grant of  summary judgment in  favor of defendants-

            appellees  and from the denial  of a request  for relief from

            judgment.   For the following reasons, we  dismiss the appeal

            from the grant of summary judgment as untimely, and we affirm

            the denial of post-judgment relief.

                                          I.

                 This  appeal has its  origins in a  decision by appellee

            Michael  Chitwood,  chief  of  police for  appellee  City  of

            Portland, to deny Hider's second application  for a permit to

            carry  a concealed weapon.   Hider sought  judicial review of

            this administrative determination in Maine state court, which

            upheld  the police chief's decision.   See Hider  v. Chief of
                                                   ___ _____     ________

            Police, Portland, 628 A.2d 158 (Me. 1993).  Thereafter, Hider
            ________________

            filed  a  complaint  in  federal   district  court  alleging,

            pursuant to  42 U.S.C.    1983,  that appellees violated  his

            rights under  the Second, Eighth,  and Fourteenth Amendments.

            Hider also appended various state law claims.  Pursuant to 28

            U.S.C.   636(c), the parties consented  to allow a magistrate

            judge to conduct any and all proceedings in  the case, and to

            enter final judgment and orders.

                 On  October  18,  1994,  the  magistrate  judge  granted

            summary judgment  for appellees on the  federal claim, ruling

            that the claim  is barred  by the doctrine  of res  judicata.
                                                           ___  ________

            The  pendent state law claims  were dismissed as  a matter of



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            judicial discretion.  See  28 U.S.C.   1367(c)(3).   Judgment
                                  ___

            entered  on October  19, 1994.   On  November 5,  1994, Hider

            served on appellees a  motion for new trial pursuant  to Fed.

            R.  Civ.  P.  59(a), a  motion  to  alter  or amend  judgment

            pursuant to Fed.  R. Civ. P. 59(e),  and a motion  for relief

            from  judgment  pursuant  to Fed.  R.  Civ.  P.  60(b).   The

            magistrate judge  denied these motions on  November 28, 1994.

            One week later, on December 5, 1994, Hider filed a motion for

            reconsideration.   This  motion  was denied  on December  19,

            1994.  Hider filed a notice of appeal on January 18, 1995. 

                                         II.

                 Although not raised by the parties, the initial question

            we must address in this  appeal is one of jurisdiction.   See
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            Feinstein v. Moses, 951 F.2d  16, 17 (1st Cir. 1991).   As we
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            see it, Hider does not have a timely appeal from  the summary

            judgment.  Pursuant  to Fed.  R. App. P.  4(a)(1), Hider  was

            required to  file  his notice  of appeal  within thirty  days

            after entry of final judgment.  Timely filing of a notice  of

            appeal  is  both  mandatory  and  jurisdictional.    Acevedo-
                                                                 ________

            Villalobos v. Hernandez,  22 F.3d 384, 387 (1st  Cir.), cert.
            __________    _________                                 _____

            denied,  115 S. Ct. 574 (1994).  Since final judgment entered
            ______

            on  October 19,  1994, Hider's  notice of  appeal was  due on

            November 18, 1994 and was filed two months late.  

                 To  be sure, a timely  Rule 59(a) or  59(e) motion tolls

            the  time period for filing a notice  of appeal.  See Fed. R.
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            App. P. 4(a)(4).  However, to be timely, such motions must be

            served within  ten days of the entry of judgment, see Fed. R.
                                                              ___

            Civ. P. 59(b), (e), excluding intermediate holidays and week-

            ends, see Fed. R. Civ. P. 6(a).  Hider's Rule 59(a) and 59(e)
                  ___

            motions were  due to  be served by  November 2, 1994.   Since

            these motions  were not served  until November 5,  1994, they

            were untimely and did  not extend the time period  for appeal

            from  the underlying  judgment.1   See Cavaliere  v. Allstate
                                               ___ _________     ________

            Ins. Co., 996 F.2d 1111, 1114 (11th Cir. 1993) (untimely Rule
            ________

            59(a) motion); Feinstein, 951 F.2d at 18 (untimely Rule 59(e)
                           _________

            motion).   Under the  circumstances, we lack  jurisdiction to

            review the summary judgment.

                 We recognize that an  alternative argument might be made

            in  an  attempt  to   resuscitate  the  appeal  from  summary

            judgment.  Following  the denial  of the first  set of  post-

            judgment motions, the clerk of the court prepared and entered

            on the docket a separate  document which is labeled  "Amended

            Judgment"  and  purports  to  re-enter  the  final  judgment.

            Similarly, following the  denial of the  second set of  post-

                                
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            1.  The magistrate  judge  incorrectly stated  in his  margin
            ruling that the  Rule 59(e)  motion was timely.   It  appears
            that, in calculating the ten-day period, the magistrate judge
            followed the suggestion of the appellees and added three days
            for  service by mail pursuant to Fed.  R. Civ. P. 6(e).  This
            was  error since  the time  for serving  a motion  under Rule
            59(e) is not extended by Rule 6(e).  See Flint v. Howard, 464
                                                 ___ _____    ______
            F.2d  1084, 1087 (1st  Cir. 1972).  We  add that, because the
            magistrate judge's misstatement was  made well after the time
            for  appeal had expired, Hider could not have relied on it in
            delaying his appeal.  See Feinstein, 951 F.2d at 20.  
                                  ___ _________

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            judgment  motions,  the clerk  prepared  and  entered on  the

            docket a  separate document which is  labeled "Second Amended

            Judgment" and purports to re-enter the final judgment.  Under

            the circumstances, it could be argued that the appeal  period

            began  anew with the entry  of the "Amended  Judgment" on the

            docket  and then restarted once  again with the  entry of the

            "Second Amended Judgment" on the docket.

                 Such  an  argument, however,  would  fail.   An  amended

            judgment which  alters matters of substance  or resolves some

            genuine ambiguity does wind  the appeal clock anew.   See FTC
                                                                  ___ ___

            v.  Minneapolis-Honeywell Regulator Co., 344 U.S. 206, 211-12
                ___________________________________

            (1952).    However,  neither   the  re-entry  of  a  judgment

            previously entered nor an immaterial revision to the judgment

            tolls the  time period  within which  review must  be sought.

            See id.; Air Line Pilots Ass'n v. Precision  Valley Aviation,
            ___ ___  _____________________    __________________________

            26 F.3d  220, 223 n.2 (1st  Cir. 1994).  Where,  as here, the

            court made no revision whatsoever to the  final judgment, the

            appeal period from this judgment is unaffected.

                                         II.

                 Our  task  is not  over.   Hider's  notice of  appeal is

            timely with respect to the order denying his December 5, 1994

            motion for reconsideration.2   We construe  this motion as  a

                                
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            2.  The  filing of this December 5 motion did not, of course,
            affect the time  period within  which Hider  was required  to
            file his appeal from the October 19 entry of judgment.   See,
                                                                     ___
            e.g., Rodriguez-Antuna v. Chase Manhattan Bank, 871 F.2d 1, 2
            ____  ________________    ____________________
            (1st Cir.  1989) (timely appeal from  district court's denial

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            Rule  60(b)(3) motion  since  it seeks  relief from  judgment

            based on allegations of fraud or misrepresentation.  See Fed.
                                                                 ___

            R. Civ. P. 60(b)(3) (permitting relief from judgment based on

            fraud   misrepresentation, or other misconduct  of an adverse

            party).  In this circuit, the  denial of a Rule 60(b)  motion

            is an appealable order.  See Fiore v. Washington County Comm.
                                     ___ _____    _______________________

            Mental Health Ctr.,  960 F.2d  229, 232 (1st  Cir. 1992)  (en
            __________________

            banc).   Our standard of review is  abuse of discretion.  See
                                                                      ___

            De la Torre v. Continental Ins. Co., 15 F.3d 12, 14 (1st Cir.
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            1994).  

                 In his brief on appeal, Hider reiterates his allegations

            of  fraud on  the court.   In  particular, Hider  claims that

            appellees misrepresented  that they agree with  the ruling of

            the Maine  Law Court, when  in fact,  they do not.   However,

            even if  the evidence in  the record  supported an  inference

            that  appellees secretly  disagreed with  some aspect  of the

            Maine court's reasoning or its interpretation of the relevant

            law,  Hider  has  failed  to  demonstrate  how  that  alleged

            misconduct interfered  with his ability to  prepare a defense

            to appellee's  summary judgment  motion.  See  Perez-Perez v.
                                                      ___  ___________

            Popular Leasing  Rental, Inc.,  993 F.2d  281, 285  (1st Cir.
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            1993) (holding that  moving party on  a Rule 60(b)(3)  motion

            must demonstrate  fraud by clear and  convincing evidence and


                                
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            of post-judgment relief does not "resurrect" expired right of
            appeal from underlying judgment).

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            must show that the fraud foreclosed full and fair preparation

            or presentation of  his case).  Under the  circumstances, the

            magistrate judge did not abuse  his discretion in denying the

            December 5, 1994 motion for reconsideration.

                 The  appeal  from  the  entry  of  summary  judgment  is

            dismissed; the  denial of  the motion for  reconsideration is
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            affirmed.
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